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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

 KIMBERLY GALLAMORE.,                         )
                                              )
               Plaintiff,                     )
                                              )
        v.                                    )
                                              )       Case No. 1:24-CV-148-SNLJ
 PORTFOLIO RECOVERY                           )
 ASSOCIATES, LLC                              )
                                              )
               Defendant.                     )


                             MEMORANDUM AND ORDER

       On October 23, 2024, defendant Portfolio Recovery Associates, LLC (“PRA”)

moved this court for judgment on the pleadings. [Doc. 25]. Plaintiff Gallamore replied

on December 2, 2024. [Doc. 32]. In defendant’s subsequent reply on March 18, 2025, a

purchase agreement regarding plaintiff’s account was attached. [Doc. 32-2]. These

additional contracts were not in the original pleadings, and thus will be considered

additional material. See BJC Health System v. Columbia Cas. Co., 348 F.3d 685 (8th Cir.

2003). When “matters outside the pleadings are presented to and not excluded by the

Court, the motion must be treated as one for summary judgment under Rule 56. All

parties must be given a reasonable opportunity to present all the material that is pertinent

to the motion.” Fed. R. Civ. P. 12(d) (emphasis added).

       IT IS HEREBY ORDERED that defendant PRA will be given 14 days from the

date of this Order to submit any additional argument and/or documents in support of the
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motion for summary judgment. Plaintiff Gallamore has 14 days to respond to any such

filing by PRA.

      IT IS FURTHER ORDERED that the trial scheduled for August 5, 2025 is

VACATED.

      SO ORDERED this 29th day of April, 2025.




                                      STEPHEN N. LIMBAUGH, JR.
                                      SENIOR UNITED STATES DISTRICT JUDGE
